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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                               Case No. 9:20-cv-81985-DIMITROULEAS


   AFFORDABLE AERIAL
   PHOTOGRAPHY, INC.,

                  Plaintiff,

    v.

   DOUGLAS ELLIMAN FLORIDA, LLC, et
   al.,

                  Defendants.


         DEFENDANT MIKOLAJ BAUER’S ANSWER AND AFFIRMATIVE DEFENSES

           Defendant Mikolaj Bauer (hereinafter “Defendant” or “Bauer”) by and through

   undersigned counsel, hereby files his Answer and Affirmative Defenses to Plaintiff

   AFFORDABLE AERIAL PHOTOGRAPHY, INC.’s, (hereinafter “Plaintiff” or “AAP”)

   Complaint [ECF No. 1] as follows:

                                    NATURE OF THE ACTION

           1.     Admitted that Plaintiff purports to bring claims for copyright infringment but

   denied that Plaintiff has stated such claims. Defendant is without sufficient knowledge or

   information to form a belief as to AAP’s business or licensing practices and, therefore, denies

   those allegations.

                                              THE PARTIES

           2.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

           3.     Admitted.
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          4.      Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          5.      Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          6.      Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          7.      Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          8.      Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          9.      Admitted.

          10.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          11.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          12.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          13.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          14.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          15.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.




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          16.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          17.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          18.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          19.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          20.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          21.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          22.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          23.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          24.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          25.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

                                   JURISDICTION AND VENUE

          26.     Admitted for jurisdictional purposes only.




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          27.     Admitted as to Defendant Bauer only. Defendant is without sufficient information

   to admit or deny the remaining allegations and, therefore, denies them.

          28.     Admitted only that Defendant Bauer conducts business within Palm Beach

   County. Defendant is without sufficient information to admit or deny the remaining allegations

   and, therefore, denies them.

                                  THE COPYRIGHTED WORKS AT ISSUE

          29.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          30.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          31.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          32.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          33.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          34.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          35.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          36.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.




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          37.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          38.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          39.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          40.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          41.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          42.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          43.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          44.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          45.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          46.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          47.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.




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          48.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          49.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          50.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          51.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          52.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          53.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          54.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          55.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          56.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          57.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          58.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.




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          59.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          60.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          61.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          62.     Admitted only that Plaintiff appears to refer to several “Works” in the Complaint.

   Defendant is without sufficient information to admit or deny the other allegations and, therefore,

   denies them.

                                      BACKGROUND FACTS

          63.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          64.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          65.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          66.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          67.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

          68.     Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.




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             69.   Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

             70.   Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

             71.   Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

             72.   Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

             73.   Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

             74.   Admitted only that MLS is a website for real estate professionals regarding

   properties available for sale or rent. Otherwise, denied.

             75.   Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

             76.   Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

             77.   Bauer denies that torts have been committed. Otherwise, Bauer is without

   sufficient information to admit or deny these remaining allegations and, therefore, denies them.

             78.   Admitted only that Defendant is a contractor of Douglas Elliman. Otherwise

   denied.

             79.   Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.




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            80.    Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

            81.    Defendant is without sufficient knowledge or information to admit or deny these

   allegations and, therefore, denies them.

            82.    Denied.

                     SPECIFIC COUNTS SEEKING AFFIRMATIVE RELIEF

      COUNT I – COPYRIGHT INFRINGEMENT SELECTED 2010 PHOTOGRAPHS
                         (U.S. Copyright Reg. No. VA-1-966-132)
   (Against Defendants DOUGLAS ELLIMAN, BILL, HIGGINS, HIGGINS P.A., ALLSUP,
                             ALLSUP LLC and BACHRAD)

            83.    The allegations in paragraphs 83-98, including subparts, pertaining to Count I are

   not directed at Defendant Bauer and do not require a response from Bauer. To the extent any

   allegations pertain to Bauer, he denies those allegations.

       COUNT II – COPYRIGHT INFRINGEMENT SELECTED 2015 PHOTOGRAPHS
                           (U.S. Copyright Reg. No. VA 2-075-526)
     (Against Defendants DOUGLAS ELLIMAN, NEOPHYTOU, ALLSUP, ALLSUP LLC,
                            BAUER, MESSING and GOODWIN)

            99.    Defendant repeats his responses to paragraphs 1-28, 31-32, and 62-82 as set forth

   above.

            100.   Defendant is without sufficient information to admit or deny whether AAP’s

   works are protected by valid copyright registration(s), and therefore denies same. Defendant

   denies the remaining allegations in this paragraph.

            101.   Defendant is without sufficient information to admit or deny the allegations in this

   paragraph, and therefore denies same.

            102.   Defendant is without sufficient information to admit or deny the allegations in this

   paragraph, and therefore denies same.




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           103.   Defendant is without sufficient information to admit or deny the allegations in this

   paragraph, and therefore denies same.

           104.   Defendant denies the allegations in this paragraph as to Bauer, including the sub-

   parts. As to allegations, including sub-parts, related to other defendants, Bauer is without

   knowledge or information, and therefore denies same.

           105.   Denied.

           106.   Defendant denies the allegations in this paragraph as to Bauer. As to allegations

   related to other defendants, Bauer is without knowledge or information, and therefore denies

   same.

           107.   Defendant denies the allegations in this paragraph as to Bauer. As to allegations

   related to other defendants, Bauer is without knowledge or information, and therefore denies

   same.

           108.   Defendant denies the allegations in this paragraph as to Bauer. As to allegations

   related to other defendants, Bauer is without knowledge or information, and therefore denies

   same.

           109.   Defendant denies the allegations in this paragraph as to Bauer. As to allegations

   related to other defendants, Bauer is without knowledge or information, and therefore denies

   same.

           110.   Denied.

           111.   Denied.

           112.   Denied.

           113.   Denied.




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                  Defendant denies that Plaintiff is entitled to any relief contained in the wherefore

          paragraph (and all sub-parts) included below paragraph 113.

    COUNT III – COPYRIGHT INFRINGEMENT PHOTOSTORE 2008 PHOTOGRAPHS
                          (U.S. Copyright Reg. No. VA 1-881-439)
                (Against Defendants DOUGLAS ELLIMAN, and BREWER)

          114.    The allegations in paragraphs 114-125, including subparts, pertaining to Count III

   are not directed at Defendant Bauer and do not require a response from Bauer. To the extent any

   allegations pertain to Bauer, he denies those allegations.

           COUNT IV – COPYRIGHT INFRINGEMENT PRADO PHOTOGRAPHS
                          (U.S. Copyright Reg. No. VA 1-945-697)
              (Against Defendants DOUGLAS ELLIMAN and MCPHERSON)

          126.    The allegations in paragraphs 126-137, including subparts, pertaining to Count IV

   are not directed at Defendant Bauer and do not require a response from Bauer. To the extent any

   allegations pertain to Bauer, he denies those allegations.

      COUNT V – COPYRIGHT INFRINGEMENT SELECTED 2013 PHOTOGRAPHS
                          (U.S. Copyright Reg. No. VA 1-947-093)
    (Against Defendants DOUGLAS ELLIMAN, TANSEY, LIST, LECAVALIER PLLC, and
                                     LECAVALIER)

          138.    The allegations in paragraphs 138-152, including subparts, pertaining to Count V

   are not directed at Defendant Bauer and do not require a response from Bauer. To the extent any

   allegations pertain to Bauer, he denies those allegations.

     COUNT VI – COPYRIGHT INFRINGEMENT SELECTED 2013 PHOTOGRAPHS B
                          (U.S. Copyright Reg. No. VA 1-967-718)
   (Against Defendants DOUGLAS ELLIMAN, HIGGINS, HIGGINS P.A., MESSING, COZ,
                                      and COZ P.A.)




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            153.   The allegations in paragraphs 153-169, including subparts, pertaining to Count VI

   are not directed at Defendant Bauer and do not require a response from Bauer. To the extent any

   allegations pertain to Bauer, he denies those allegations.

    COUNT VII – COPYRIGHT INFRINGEMENT SELECTED 2015 PHOTOGRAPHS B
                            (U.S. Copyright Reg. No. VA 1-971-919)
                 (Against Defendants DOUGLAS ELLIMAN, and LIST)

            170.   The allegations in paragraphs 170-183, including subparts, pertaining to Count

   VII are not directed at Defendant Bauer and do not require a response from Bauer. To the extent

   any allegations pertain to Bauer, he denies those allegations.

    COUNT VIII – COPYRIGHT INFRINGEMENT SELECTED 2015 PHOTOGRAPHS C
                            (U.S. Copyright Reg. No. VA 1-997-096)
     (Against Defendants DOUGLAS ELLIMAN, ALLSUP, ALLSUP LLC, BACHRAD,
                         BAUER, MESSING, and GOTTFRIED)

            184.   Defendant repeats his responses to paragraphs 1-28, 45-46, and 62-82 as set forth

   above.

            185.   Defendant is without sufficient information to admit or deny whether AAP’s

   works are protected by valid copyright registration(s), and therefore denies same. Defendant

   denies the remaining allegations in this paragraph.

            186.   Defendant is without sufficient information to admit or deny the allegations in this

   paragraph, and therefore denies same.

            187.   Defendant is without sufficient information to admit or deny the allegations in this

   paragraph, and therefore denies same.

            188.   Defendant is without sufficient information to admit or deny the allegations in this

   paragraph, and therefore denies same.




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           189.   Defendant denies the allegations in this paragraph as to Bauer, including the sub-

   parts. As to allegations, including sub-parts, related to other defendants, Bauer is without

   knowledge or information, and therefore denies same.

           190.   Denied.

           191.   Defendant denies the allegations in this paragraph as to Bauer. As to allegations

   related to other defendants, Bauer is without knowledge or information, and therefore denies

   same.

           192.   Defendant denies the allegations in this paragraph as to Bauer. As to allegations

   related to other defendants, Bauer is without knowledge or information, and therefore denies

   same.

           193.   Defendant denies the allegations in this paragraph as to Bauer. As to allegations

   related to other defendants, Bauer is without knowledge or information, and therefore denies

   same.

           194.   Denied.

           195.   Denied.

           196.   Denied.

           197.   Denied.

                  Defendant denies that Plaintiff is entitled to any relief contained in the wherefore

           paragraph (and all sub-parts) included below paragraph 197.

     COUNT IX – COPYRIGHT INFRINGEMENT SELECTED 2010 PHOTOGRAPHS B
                            (U.S. Copyright Reg. No. VA 2-059-014)
       (Against Defendants DOUGLAS ELLIMAN, MESSING, COZ, and COZ P.A.)




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          198.    The allegations in paragraphs 198-211, including subparts, pertaining to Count IX

   are not directed at Defendant Bauer and do not require a response from Bauer. To the extent any

   allegations pertain to Bauer, he denies those allegations.

      COUNT X – COPYRIGHT INFRINGEMENT SELECTED 2016 PHOTOGRAPHS
                            (U.S. Copyright Reg. No. VA 2-075-528)
   (Against Defendants DOUGLAS ELLIMAN, HARRIS, GAINES, MESSING, GOODWIN,
                        GOTTFRIED, ALLSUP, and ALLSUP LLC)

          212.    The allegations in paragraphs 212-226, including subparts, pertaining to Count X

   are not directed at Defendant Bauer and do not require a response from Bauer. To the extent any

   allegations pertain to Bauer, he denies those allegations.

     COUNT XI – COPYRIGHT INFRINGEMENT SELECTED 2010 PHOTOGRAPHS C
                            (U.S. Copyright Reg. No. VA 2-097-651)
    (Against Defendants DOUGLAS ELLIMAN, MESSING, GOTTFRIED, COZ, and COZ
                                         P.A.)

          227.    The allegations in paragraphs 227-240, including subparts, pertaining to Count XI

   are not directed at Defendant Bauer and do not require a response from Bauer. To the extent any

   allegations pertain to Bauer, he denies those allegations.

    COUNT XII – COPYRIGHT INFRINGEMENT SELECTED 2016 PHOTOGRAPHS B
                           (U.S. Copyright Reg. No. VA 2-118-212)
         (Against Defendants DOUGLAS ELLIMAN, LIST, and CHOUVALIS)

          241.    The allegations in paragraphs 241-252, including subparts, pertaining to Count

   XII are not directed at Defendant Bauer and do not require a response from Bauer. To the extent

   any allegations pertain to Bauer, he denies those allegations.

    COUNT XIII – COPYRIGHT INFRINGEMENT SELECTED 2013 PHOTOGRAPHS C
                            (U.S. Copyright Reg. No. VA 2-182-921)
                 (Against Defendants DOUGLAS ELLIMAN, and LIST)




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          253.    The allegations in paragraphs 253-264, including subparts, pertaining to Count

   XIII are not directed at Defendant Bauer and do not require a response from Bauer. To the extent

   any allegations pertain to Bauer, he denies those allegations.

     COUNT XIV – COPYRIGHT INFRINGEMENT SELECTED 2012 PHOTOGRAPHS
                             (U.S. Copyright Reg. No. VA 2-201-272)
        (Against Defendants DOUGLAS ELLIMAN, HIGGINS, and HIGGINS, P.A.)

          265.    The allegations in paragraphs 265-278, including subparts, pertaining to Count

   XIV are not directed at Defendant Bauer and do not require a response from Bauer. To the extent

   any allegations pertain to Bauer, he denies those allegations.

      COUNT XV – COPYRIGHT INFRINGEMENT SELECTED 2005 PHOTOGRAPHS
                             (U.S. Copyright Reg. No. VA 2-201-275)
     (Against Defendants DOUGLAS ELLIMAN, ALLSUP, ALLSUP LLC, MESSING, and
                                      GOTTFRIED)

          279.    The allegations in paragraphs 279-292, including subparts, pertaining to Count

   XV are not directed at Defendant Bauer and do not require a response from Bauer. To the extent

   any allegations pertain to Bauer, he denies those allegations.

     COUNT XVI – ALTERATION OF COPYRIGHT MANAGEMENT INFORMATION
                              (Violation of 15 U.S.C. § 1202(a))
   (Against Defendants DOUGLAS ELLIMAN, BILL, HIGGINS, HIGGINS, P.A., ALLSUP,
      ALLSUP LLC, BACHRAD, NEOPHYTOU, BAUER, MESSING, BREWER, LIST,
                  LECAVALIER, LECAVALIER PLLC and GOTTFRIED)

          293.    Defendant repeats his responses to paragraphs 1-82, 90, 104, 117, 143, 160, 189,

   217, 256, and 270 as set forth above.

          294.    Defendant is without knowledge or information sufficient to admit or deny the

   allegations in this paragraph, and therefore denies same.

          295.    Defendant is without sufficient information to admit or deny the allegations in this

   paragraph, and therefore denies same.




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           296.   Defendant denies the allegations in this paragraph as to Bauer. As to allegations

   related to other defendants, Bauer is without knowledge or information, and therefore denies

   same.

           297.   Defendant denies the allegations in this paragraph as to Bauer. As to allegations

   related to other defendants, Bauer is without knowledge or information, and therefore denies

   same.

           298.   Defendant denies the allegations in this paragraph as to Bauer. As to allegations

   related to other defendants, Bauer is without knowledge or information, and therefore denies

   same.

           299.   Defendant denies the allegations in this paragraph as to Bauer. As to allegations

   related to other defendants, Bauer is without knowledge or information, and therefore denies

   same.

           300.   Denied.

           301.   Defendant denies the allegations in this paragraph as to Bauer. As to allegations

   related to other defendants, Bauer is without knowledge or information, and therefore denies

   same.

           302.   Defendant denies the allegations in this paragraph as to Bauer. As to allegations

   related to other defendants, Bauer is without knowledge or information, and therefore denies

   same.

           303.   Defendant denies the allegations in this paragraph as to Bauer. As to allegations

   related to other defendants, Bauer is without knowledge or information, and therefore denies

   same.

           304.   Denied.




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          305.    Denied.

                  Defendant denies that Plaintiff is entitled to any relief contained in the wherefore

          paragraph (and all sub-parts) included below paragraph 305.

                      COUNT XVII – VICARIOUS COPYRIGHT INFRINGEMENT
                              (Against DOUGLAS ELLIMAN)

          306.    The allegations in paragraphs 306-318, including subparts, pertaining to Count

   XVII are not directed at Defendant Bauer and do not require a response from Bauer. To the

   extent any allegations pertain to Bauer, he denies those allegations.

          Defendant denies that Plaintiff is entitled to any relief contained in the wherefore

   paragraphs (and all sub-parts) included below each Count.

                              AFFIRMATIVE AND OTHER DEFENSES

          Further responding to the Complaint, Defendant asserts the following defenses.

   Defendant does not admit to having the burden of proof and/or the burden of persuasion with

   respect to any of these defenses. By designating the following as defenses, Defendant does not in

   any way waive or limit any defenses that are or may be raised by his denials, allegations and

   averments set forth herein.

          1.      Plaintiff’s claims are barred or limited by waiver or estoppel, insofar as

   Defendant’s alleged use was licensed by Plaintiff or others acting on its behalf.

          2.      Plaintiff’s claims are barred or limited insofar as Defendant’s alleged use was

   authorized by a prior licensee of Plaintiff.

          3.      Plaintiff’s claims are barred to the extent that Plaintiff does not own valid

   copyright registrations.

          4.      Plaintiff’s claims are barred to the extent that copyright registration certificates

   have not been issued for one or more of the claimed works.



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          5.      Plaintiff’s claims are barred to the extent that some or all of the copyrights and/or

   rights to the photographs were not assigned to Affordable Aerial Photography.

          6.      Plaintiff does not have standing to bring this lawsuit to the extent any assignment

   is invalid or does not expressly provide Plaintiff the right to sue for past infringements.

          7.      Plaintiff’s claimed works consist of elements that are not original or are in the

   public domain and, therefore, are not protectable under copyright law.

          8.      Plaintiff’s claims are barred under the fair use doctrine because each element of

   17 U.S.C. § 107 favors Defendant.

          9.      Any use by Defendant of the works at issue was innocent and in good faith and

   without any intent to infringe any copyright.

          10.     Plaintiff’s Complaint is barred, in part, because it improperly joins separate and

   independent causes of action that are not related to the same transaction or occurrence against

   different Defendants.

          11.     Plaintiff’s claim for damages is barred by the one-satisfaction rule insofar as

   Plaintiff has already sued others for the same alleged infringement.

          12.     Plaintiff’s claimed damages (if any) are subject to a reduction or setoff for

   amounts claimed from others.

          13.     Plaintiff’s recovery (if any) is subject to a reduction or setoff because Plaintiff has

   already obtained license fees from one or more Defendants.

          14.     Plaintiff’s recovery (if any) is subject to a reduction insofar as Plaintiff failed to

   mitigate its damages.

          15.     Plaintiff’s recovery (if any) must be limited to damages relating to actual use (if

   any) of Plaintiff’s registered works.




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           16.     Insofar as Plaintiff seeks Defendant’s profits (if any), Plaintiff is not entitled to

   recover any profit attributable to factors other than the works allegedly copied from Plaintiff’s

   claimed work.

           17.     Insofar as Plaintiff seeks damages based solely upon Defendant’s possession of

   the allegedly infringing photographs, such possession alone is not infringement and is not

   actionable.

           WHEREFORE, Defendant Mikolaj Bauer requests that the Complaint be dismissed; that

   Plaintiff take nothing on its Complaint; that Defendant be awarded his costs and reasonable

   attorneys’ fees under 17 U.S.C. Section 505; and that Defendant be granted such other and

   further relief as is proper.

           Dated: January 7, 2021.

                                                   Respectfully submitted,

                                                   SHULLMAN FUGATE PLLC

                                                   Allison S. Lovelady
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                                                   Attorneys for Mikolaj Bauer




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